        Case 2:15-cv-00059-KS-MTP Document 12 Filed 10/27/15 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  HATTIESBURG DIVISION

Billy Parker and Carolyn Parker,

            Plaintiffs,
                                                 Civil Action No.: 2:15CV59-KS-MTP
   v.

Comenity LLC d/b/a Comenity Bank,

            Defendant.


                      VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff, Billy Parker and Carolyn Parker, by and through their attorneys, KROHN &

MOSS, LTD., hereby voluntarily dismisses the above-entitled case with prejudice.


Date: October 27, 2015                      RESPECTFULLY SUBMITTED,
                                            By: /s/ Shireen Hormozdi
                                            Shireen Hormozdi
                                            Krohn & Moss, Ltd
                                            10474 Santa Monica Blvd. Suite 405
                                            Los Angeles, CA 90025
                                            Tel: (323) 988-2400 x 267/Fax: (866) 861-1390
                                            Email: shormozdi@consumerlawcenter.com
                                            Mississippi Bar No. 103799




                                                                                              1
                                   VOLUNTARY DISMISSAL
       Case 2:15-cv-00059-KS-MTP Document 12 Filed 10/27/15 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 27, 2015, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System


                                                             /s/ Shireen Hormozdi
                                                             Shireen Hormozdi
                                                             Attorney for Plaintiff




                                                                                                   2
                                  VOLUNTARY DISMISSAL
